
It is ordered and adjudged by this court, that the judgment of the said circuit court be and the same is hereby reversed; the court find that the circuit court erred in affirming the judgment of the court of common pleas, and, coming now to render the judgment which the circuit court should have rendered, it is hereby ordered and adjudged that the judgment of the common pleas court be reversed for error in the admission of evidence relating to the device used in the shop of plaintiff *518in error in opening and closing the windows, prior to the time of the employment of the defendant in error, and this cause is remanded to the court of common pleas for a new trial and further. proceeding, according to law.
Shauck, C. J., Johnson, Donahue, Wana- • maker and Newman, JJ., concur.
